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                       THE UNITED STATES DISTRICT COURT
                      DISTRICT OF UTAH, NORTHERN DIVISION


TERESSA LANGSTON, individually and on
behalf of all others similarly situated,
                                             ORDER GRANTING PRO HAC VICE
                    Plaintiff,               ADMISSION OF REBECCA HUGHES
                                             PARKER
 v.
                                             CASE NO: 1:24-cv-00046-DAO
DOTDASH MEDIA, INC. D/B/A
DOTDASH MEREDITH.

                  Defendant.



       Before the court is Local Counsel’s Motion for Pro Hac Vice Admission of Rebecca

Hughes Parker. Based on the motion and for good cause appearing,

       IT IS HEREBY ORDERED that the motion is GRANTED.
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DATED this ____ day of June, 2024.


                                                            BY THE COURT:



                                                            Honorable Daphne A. Oberg
                                                            United States Magistrate Judge
                                CERTIFICATE OF SERVICE

       I certify that on this 3rd day of June, 2024, I filed the foregoing with the Court by CM/ECF

which then served all counsel of record.


                                                    /s/ J. Mark Gibb
